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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 Masih Alinejad,

                         Plaintiff,

                 v.                                     Civil Action No. 1:19-cv-03599-EGS

 The Islamic Republic of Iran et al.,

                         Defendants.


                                PLAINTIFF’S STATUS REPORT

       Plaintiff filed suit in this Court on December 2, 2019. See Complaint, Docket No. 1.

Pursuant to the Foreign Sovereign Immunities Act (FSIA), 28 U.S.C. § 1608(a)(3), service on

The Islamic Republic of Iran and its Supreme Leader Seyed Ali Hosseini Khamenei, as well as

its agencies/instrumentalities the Judiciary of Iran and the Islamic Revolutionary Guard Corps

(IRGC) was first attempted via the Clerk of Court on March 13, 2020. See Certificate of Clerk –

1608(a)(3), Docket No. 6. Defendants did not respond to service within the thirty days provided.

On July 1, 2020, the Clerk of Court dispatched two copies of the summons, notice of suit, and

complaint to the U.S. State Department pursuant to 28 U.S.C. § 1608(a)(4) for diplomatic

service. See Certificate of Clerk – 28USC1608(a)(4), Docket No. 9.

       Under FSIA § 1608(c)(1), service is deemed to have been made “as of the date of

transmittal indicated in the certified copy of the diplomatic note”. The Office of the Legal

Adviser of the State Department has advised that the documents are currently with the Swiss

Embassy in Tehran, Iran for delivery but that service has not yet been executed and is expected

by approximately October 19, 2020. See Exhibit A, State Department Email. Upon receipt of

such note, counsel for Plaintiff will file proof of service with this Court.

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Dated October 9, 2020.

Respectfully,



                                                _/s/___________________
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